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   San Diego, California 92101-8893
 5 Telephone: (619) 546-7462
 6 Attorneys for Plaintiff
   United States of America
 7
 8
 9                        UNITED STATES DISTRICT COURT
10                     SOUTHERN DISTRICT OF CALIFORNIA
11 UNITED STATES OF AMERICA,               )     Case No. 18MJ2085-RBB-CAB
                                           )
12                     Plaintiff,          )     MOTION TO SHORTEN TIME
                                           )
13         v.                              )     Date: May 10, 2018
                                           )
14 OLGA ESMERALDA GEORGE,                  )     Time: 11:00 a.m.
                                           )
15                     Defendant.          )
                                           )
16                                         )
17         The Government requests an order shortening time to May 9, 2018, to file its
18 Response to Defendant’s Motion for Bail Review. The grounds for this motion is
19 because the Government’s counsel became aware of the filing schedule yesterday.
20         DATED: May 9, 2018.
21                                               ADAM L. BRAVERMAN
                                                 United States Attorney
22
                                                 s/ Michael E. Lasater
23                                               MICHAEL E. LASATER
                                                 Assistant United States Attorney
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 4                        UNITED STATES DISTRICT COURT
 5                      SOUTHERN DISTRICT OF CALIFORNIA
 6 UNITED STATES OF AMERICA,                 )     Case No. 18MJ2085-RBB-CAB
                                             )
 7              Plaintiff,                   )     CERTIFICATE OF SERVICE
                                             )
 8         v.                                )
                                             )
 9 OLGA ESMERALDA GEORGE,                    )
                                             )
10                      Defendant.           )
                                             )
11                                           )
12 IT IS HEREBY CERTIFIED THAT:
13         I, MICHAEL E. LASATER, am a citizen of the United States and am at least
14 eighteen years of age. My business address is 880 Front Street, Room 6293, San
15 Diego, California 92101-8893.
16         I am not a party to the above-entitled action. I have caused service of the
17 Motion to Shorten Time on the following parties by electronically filing the
18 foregoing with the Clerk of the District Court using its ECF System, which
19 electronically notifies them.
20         To:   Eric Studebaker Fish, Esq.
21         I declare under penalty of perjury that the foregoing is true and correct.
22         EXECUTED on May 9, 2018.
23                                                 s/ Michael E. Lasater
24                                                 MICHAEL E. LASATER
                                                   Assistant United States Attorney
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